         Case 2:19-cv-02051-JWL-JPO Document 8 Filed 03/05/19 Page 1 of 3




                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS


CYNTHIA Z. BRIGHTON, AS EXECUTOR                      )
AND ON BEHALF OF THE ESTATE OF                        )
PETER M. ZIEGLER,                                     )
                                                      )
         Plaintiff,                                   )
                                                      )
vs.                                                   )      Case No. 2:19-cv-02051-JWL-JPO
                                                      )
LAH CUBED, LLC and                                    )
LARRY A. HALL,                                        )
                                                      )
         Defendants.                                  )


                       UNOPPOSED MOTION FOR EXTENSION OF TIME
                      TO ANSWER OR OTHERWISE PLEAD IN RESPONSE
                              TO PLAINTIFF’S COMPLAINT

         Defendants LAH Cubed, LLC and Larry A. Hall respectfully request that the Court

extend their deadline to answer or otherwise respond to Plaintiff’s Complaint in the above-

referenced matter, such that Defendants’ responsive pleading will be due on or before March 22,

2019. In support of their motion, Defendants state as follows:

         1.      Defendants’ Answer in this case was originally due on February 21, 2019, but

Defendants requested and received a clerk’s extension of 14 days, and Defendants’ answer date

is now March 7, 2019.

         2.      Defendants’ deadline for answering or otherwise responding to Plaintiff’s

Complaint has not passed.

         3.      Counsel for Defendants is scheduled to be out of town from March 8, 2019

through March 18, 2019, and his present schedule will make it difficult to adequately prepare

Defendants’ responsive pleading by March 7, 2019.




PJ-977067-v1
         Case 2:19-cv-02051-JWL-JPO Document 8 Filed 03/05/19 Page 2 of 3




         4.    Counsel for the parties have also been discussing a potential resolution to this

matter, and an extension of time will allow the parties to more fully explore that possibility.

         5.    Defendants presently believe that an extension of time through March 22, 2019

will allow Defendants adequate time to prepare their responsive pleading.

         6.    Counsel for Defendants has discussed the requested extension with counsel for

Plaintiff, and Plaintiff does not object to Defendants’ requested extension.

         7.    This motion is not being filed for the purpose of harassment or delay, or for any

other improper purpose. Instead, it is being filed to allow Defendants adequate time to prepare a

responsive pleading, and to allow the parties to explore a potential resolution.

         WHEREFORE, Defendants LAH Cubed, LLC and Larry A. Hall respectfully request that

the Court extend the deadline for said Defendants to answer or otherwise plead in response to

Plaintiff’s Complaint to March 22, 2019.




                                              Respectfully submitted,

                                              PAYNE & JONES, CHARTERED


                                              By /s/ Christopher J. Sherman
                                                     Christopher J. Sherman, KS #20379
                                                     11000 King
                                                     Overland Park, KS 66225-5625
                                                     Telephone: (913) 469-4100
                                                     Facsimile: (913) 469-8182
                                                     csherman@paynejones.com
                                                     ATTORNEY FOR DEFENDANTS




                                                 2
PJ-977067-v1
         Case 2:19-cv-02051-JWL-JPO Document 8 Filed 03/05/19 Page 3 of 3




                                 CERTIFICATE OF SERVICE

     I hereby certify that on March 5, 2019, I electronically filed the foregoing with the Clerk of
the Court by using the CM/ECF system which sent notification to all parties of interest
participating in the CM/ECF system:

Brenda G. Hamilton, Esq.
Shannon D. Johnson, Esq.
Seigfreid Bingham, P.C.
2323 Grand Blvd., Suite 1000
Kansas City, MO 64108
bhamilton@sb-kc.com
sjohnson@sb-kc.com
Attorneys for Plaintiff



                                                      /s/ Christopher J. Sherman
                                                      Christopher J. Sherman




                                                 3
PJ-977067-v1
